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                         UNITED STATES DISTRICT COURT
                                 District of Minnesota


Bachman's, Inc.,                                        JUDGMENT IN A CIVIL CASE
                                 Plaintiff(s),
v.                                                     Case Number: 20-cv-2399 (MJD/DTS)
Florists' Mutual Insurance Company,

                                 Defendant(s).

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

Defendant Florists’ Mutual Insurance Co.’s Motion to Dismiss (Doc. No. 10) is GRANTED. This
matter is hereby dismissed with prejudice.



     Date: 3/16/2021                                         KATE M. FOGARTY, CLERK
